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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION


UNITED STATES OF AMERICA                               3:22-cr-00099-MO

              v.                                       INDICTMENT

TYLER RAY HARNDEN,                                     21 U.S.C. § 841(a)(l) and 84l(b)(l)(C)

              Defendant.                               18 U.S.C. §§ 922(g)(l) and 924(c)

                                                       Forfeiture Allegations


                               THE GRAND JURY CHARGES:

                                           COUNT!
                                   (Distribution of Fentanyl)
                            (21 U.S.C. § 84l(a)(l) and 841(b)(l)(C))

       On or about January 5, 2022, within the District of Oregon, defendant TYLER RAY

HARNDEN did knowingly and intentionally distribute fentanyl (N-phenyl-N-[1-(2-

phenylethyl)-4-piperidinyl] propenamide), a Schedule II controlled substance;

       In violation of Title 2 1, United States Code, Section 841 (a)(l) and 841 (b)( l )(C).

                                           COUNT2
                                   (Distribution of Fentanyl)
                            (21 U.S.C. § 841(a)(l) and 84l(b)(l)(C))

       On or about February 15, 2022, within the District of Oregon, defendant TYLER RAY

HARNDEN did knowingly and intentionally distribute fentanyl (N-phenyl-N-[1-(2-

phenylethyl)-4-piperidinyl] propenamide), a Schedule II controlled substance;
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       In violation of Title 21, United States Code, Section 841(a)(l) and 841(b)(l)(C).

                                           COUNT3
                       (Possession with the Intent to Distribute Fentanyl)
                            (21 U.S.C. § 84l(a)(l) and 84l(b)(l)(C))

        On or about February 16, 2022, within the District of Oregon, defendant TYLER RAY

HARNDEN did knowingly and intentionally possess with the intent to distribute fentanyl (N-

phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propenamide), a Schedule II controlled substance;

       In violation of Title 21, United States Code, Section 84l(a)(l) and 84l(b)(l)(C).

                                           COUNT4·
                        (Possession with the Intent to Distribute Heroin)
                            (21 U.S.C. § 841(a)(l) and 84l(b)(l)(C))

       On or about February 16, 2022, within the District of Oregon, defendant TYLER RAY

HARNDEN did knowingly and intentionally possess with the intent to distribute heroin, a

Schedule I controlled substance;

       In violation of Title 21, United States Code, Section 841(a)(l) and 841(b)(l)(C).

                                         COUNTS
           (Possession of a Firearm in Furtherance of a Drug Trafficking Crime)
                                    (18 U.S.C. § 924(c))

       On or about and between January 5, 2022, and February 16, 2022, within the District of

Oregon, defendant TYLER RAY HARNDEN, in furtherance of a drug trafficking crime for

which may be prosecuted in a court of the United States, that is the distribution of fe°:tanyl,

possession with the intent to distribute fentanyl, and possession with the intent to distribute

heroin, in violation of Title 21, United States Code, Section 841(a)(l), as set forth in Counts 1, 2,

3, and 4, did knowingly possess one or more of the following firearms, to-wit:

        1. Glock, model 42, .380 caliber pistol with serial number AFZX899; and,


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       2. Canik, model TP9 SF, 9mm caliber pistol with serial number 20AT35004;

       In violation of Title 18, United States Code, Section 924(c)(l)(A)(i).

                                            COUNT6
                                (Felon in Possession of a Firearm)
                                      (18 U.S.C. § 922(g)(l))

       On or about February 16, 2022, within the District of Oregon, defendant TYLER RAY

HARNDEN, knowing that he had been previously convicted of a crime punishable by

imprisonment for a term exceeding o!le year, specifically: Unlawful Delivery of Heroin, on or

about April 29, 2015, in Marion County Circuit Court, State of Oregon, Case Number

15CR07787, did knowingly and unlawfully possess one or more of the following firearms:

       1. Glock, model 42, .380 caliber pistol with serial number AFZX899; and,

       2. Canik, model TP9 SF, 9mm caliber pistol with serial number 20AT35004,

which firearms had previously been shipped or transported in interstate or foreign commerce;

       In violation of Title 18, United States Code, Section 922(g)(l).

                                 FORFEITURE ALLEGATION
                                 (Controlled Substance Offenses)

       Upon conviction of an offense in Counts 1, 2, 3, and/or 4, defendant TYLER RAY

HARNDEN shall forfeit to the United States, pursuant to 21 U.S.C. § 853, any property

constituting, or derived from, proceeds obtained, directly or indirectly, as a result of the aforesaid

violations and any property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of said violations.

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                          SECOND FORFEITURE ALLEGATION
                                      (Firearm Offenses)

       Upon conviction of the offense in Counts 5 and/or 6, defendant TYLER RAY

HARNDEN shall forfeit to the United States pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. §

246l(c), the firearm and ammunition involved in that offense, including without limitation:

       1. Glock, model 42, .380 caliber pistol with serial number AFZX899; and,

       2. Canik, model TP9 SF, 9mm caliber pistol with serial number 20AT35004,

and all the associated ammunition.

Dated: March~ 2022.




Presented by:

SCOTT ERIK ASPHAUG




Assistant United States Attorney




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